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FOR THE wEsTERN DIsTRIcT oF TENNESSEEUE€-'I§"l.`z' -5
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TERRY vIcKERs,

Plaintiff,

v. No. 04-2427 Ml/An
CITY OF MEMPHIS, MEMPHIS FIRE
DEPARTMENT, and MIKE LAMBERT,
Individually and in his
official capacity, and EDDIE
MORGAN, Individually,

Defendants.

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ORDER DENYING DEFENDANTS' MOTION TO DISMISS PORTIONS OF COMPLAINT

 

Before the Court is Defendants' Motion to Dismiss Portions
of Complaint, filed on September 15, 2004. Plaintiff filed an
opposition on Ootober d, 2004. Defendants filed a reply on
Ootober 15, 2004. Plaintiff filed a response to Defendants’
reply on Deoember 16, 2004.1 For the following reasons,
Defendants' Motion to Dismiss is DENIED.

I. BACKGROUND

This case arises from the allegations of Plaintiff Terry
Viokers that he was subjected to harassment, a hostile work
environment, and disparate treatment by Defendants upon returning

from military service in Iraq, in violation of the Uniform

 

l Plaintiff is hereby granted leave to file his response to
Defendants' reply.

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with Ru|e 58 and/or 79(3) FRCP on § 2 “ i 0 _)

 

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Services Employment and Reemployment Rights Act of 1994
(“USERRA”), 38 U.S.C. § 430l et seq.2 Plaintiff is a firefighter
and paramedic for the Memphis Fire Department and a reservist for
the Tennessee Air National Guard. According to his Complaint,
Plaintiff was subjected to disparate treatment, harassment and a
hostile work environment after he returned from military service,
including being called “derogatory ethnic names because of his
military service” and “repeatedly being referred to as ‘HABIB.’”
(Pl.’s Compl. II 8,9.) Defendants move to dismiss Plaintiff’s
claims that he was harassed and subjected to a hostile work
environment pursuant to Federal Rule of Civil Procedure l2(b)(6)
because USERRA purportedly does not provide a cause of action for
such claims.
II. STANDARD OF REVIEW

A defendant may move to dismiss a claim “for failure to
state a claim upon which relief can be granted” under Federal
Rule of Civil Procedure l2(b)(6). When considering a lZ(b)(G)
motion, a court must treat all of the well-pleaded allegations of
the complaint as true. Savlor v. Parker Seal Co., 975 F.Zd 252,
254 (6th Cir. 1992). Furthermore, the court must construe all of
the allegations in the light most favorable to the non-moving

party. Scheuer v. Rhodes, 416 U.S. 232, 236 (1974). “A court

 

2 Plaintiff’s Complaint does not specify when he served in

lrag.

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may dismiss a [claim under lZ(b)(6)] only if it is clear that no
relief could be granted under any set of facts that could be
proved consistent with the allegations.” Hishon v. King &
Spalding, 467 U.S. 69, 73 (1984).

III. ANALYSIS

Defendants contend that the USERRA does not provide a cause
of action for claims of harassment and hostile work environment.
Plaintiff contends that the USERRA’s prohibition against
discrimination regarding the “benefits of employment” includes a
right to be free from harassment and a hostile work environment
and that certain of Defendants' work policies have created a
right to be free from such conduct.

The stated purposes of the USERRA are:

(l) to encourage noncareer service in the uniformed
services by eliminating or minimizing the disadvantages

to civilian careers and employment which can result
from such service;

(2) to minimize the disruption to the lives of persons
performing service in the uniformed services as well as
to their employers, their fellow employees, and their
communities, by providing for the prompt reemployment
of such persons upon their completion of such service;
and

(3) to prohibit discrimination against persons because
of their service in the uniformed services.

38 U.S.C. § 4301. The USERRA specifically prohibits the denial
of “any benefit of employment by an employer” to members of

uniformed services “on the basis of that membership

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performance of service ... or obligation.” 38 U.S.C. § 4311(a).3

The term “benefit of employment” is defined as follows:

[A]ny advantage, profit, privilege, gain, status,
account, or interest (other than wages or salary for
work performed) that accrues by reason of an employment
contract or agreement or an employer policy, plan, or
practice and includes rights and benefits under a
pension plan, a health plan, an employee stock
ownership plan, insurance coverage and awards, bonuses,
severance pay, supplemental unemployment benefits,
vacations, and the opportunity to select work hours or
location of employment.

38 U.S.C. § 4303(2). An employer violates the USERRA if an
employee's “membership ... service ... or obligation for service
in the uniformed services is a motivating factor in the
employer's [adverse] action, unless the employer can prove that
the action would have been taken in the absence of such
membership ... service ... or obligation for service....” 38

U.S.C. § 43ll(c)(l).

Although the USERRA clearly prohibits an employer from
discriminating against an employee with respect to a benefit of

employment on the basis of that employee’s military status, the

 

3 3a U.s.c. § 4311 (a) provides:

A person who is a member of, applies to be a member of,
performs, has performed, applies to perform, or has an
obligation to perform service in a uniformed service
shall not be denied initial employment, reemployment,
retention in employment, promotion, or any benefit of
employment by an employer on the basis of that
membership, application for membership, performance of
service, application for service, or obligation.

38 U.S.C. § 43ll(a).

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USERRA does not specifically prohibit an employer from subjecting
an employee to harassment or a hostile work environment due to
the employee's military status. The parties dispute whether the
freedom from a hostile work environment or harassment is
contemplated within the term “benefit of employment” in the

USERRA.

The parties do not point to, and the Court has not found
through its own research, a decision of any United States
District Court or Court of Appeals addressing the question of
whether freedom from a hostile work environment or harassment is
contemplated within the term “benefit of employment” in the

USERRA.4 However, in Monroe v. Standard Oil Co., 613 F.2d 641,

 

4Although the parties cite the unpublished decision of the
Ninth Circuit Court of Appeals in Church v. Citv of Reno, No. 97-
17097, 168 F.3d 498, 1999 WL 65205 (9th Cir. Feb. 9, 1999), the
Court in Church did not reach the question of whether a hostile
work environment claim is cognizable under the USERRA. The
Church decision arose in the context of the asserted violation of
a consent decree whereby a party agreed not to violate the
USERRA. Church, 1999 WL 65205 at *l. Because the USERRA does
not specifically include the freedom from a hostile work
environment in the definition of “benefit of employment” and
neither the Supreme Court nor any Court of Appeals had
interpreted the USERRA to create liability for hostile work
environment harassment, the Court found that the defendant could
not be held in contempt for violating the decree for allowing an
allegedly hostile work environment. ld;

The parties also point to Miller v. Citv of Indianabolis,
281 F.3d 648, 653 (7th Cir. 2002)(finding, without analyzing
whether such a cause of action exists under the USERRA, that a
plaintiff’s allegations were insufficient to establish that any
such harassment was sufficiently severe or pervasive to state a
claim of harassment or hostile work environment under the
USERRA), which does not address the specific question at issue.

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645 (6th Cir. 1980), the United States Court of Appeals for the
Sixth Circuit construed the precursor statute to the USERRA, the
Vietnam Era Veterans Readjustment Assistance Act of 1974, 38
U.S.C. § 2022 et seg. (1980). Rather that protecting

servicemembers from discrimination regarding “benefits of

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employment,' the VRRA protected reserves from discrimination

regarding “incidents or advantages of employment.” 38 U.S.C. §

2021(b)(3)(l980). In interpreting that term, the Court found:

The protection afforded by this section is purely
derivative. It is intentionally framed in general terms
to encompass the potentially limitless variation in
benefits of employment that are conferred by an untold
number and variety of business concerns. But, just as
the property rights protected by the Due Process Clause
of the Fourteenth Amendment can only be ascertained by
looking outside the Amendment to state law, we read
section 2021(b)(3) to protect only those employment
benefits that a reservist can establish exist at his
place of employment. In establishing their existence,
incidents or advantages of employment must be
ascertained by reference to employment rules or
employer practices at the employer's business
establishment.

Monroe, 613 F.Zd at 645. The Court finds the above analysis
persuasive and adopts its reasoning in the context of a claim of
discrimination under the USERRA. The Court will therefore look
to the Defendants' employment policies to determine whether
Plaintiff has alleged the deprivation of a benefit which he can
establish existed at his place of employment. Plaintiff’s claims
of harassment and hostile work environment under USERRA may

therefore proceed if he can establish the existence of an

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employment policy that prohibits the type of conduct about which

he complains.5

Defendants nonetheless contend that no cause of action for
harassment or hostile work environment claims exists under
USERRA. In Petersen v. Department of Interior, 71 M.S.P.R. 227,
No. NY-3443»95~O6lO-I-l (July 19, 1996), however, the Merit
Systems Protection Board (“MSPB”) concluded that harassment based
upon prior military service violated the USERRA. Specifically,

the Board in Peterson found that:

Just as Congress sought to prohibit discrimination on
various bases in Title Vll, Title IX, the
Rehabilitation Act, and the ADA, it sought through
USERRA, ‘to prohibit discrimination against persons
because of their service in the uniformed services.’ 38
U.S.C. § 430l(a)(3). Based on the broad interpretation
that Congress intended be given to USERRA and the well-
established principle that discrimination encompasses
hostile environment claims, we conclude that harassment
on account of prior service in the uniformed services,
which is sufficiently pervasive to alter the conditions
of employment and create an abusive working
environment, is a violation of 38 U.S.C. § 4311(a).

ld. The Court finds the Board’s findings persuasive and adopts
its conclusion that the USERRA provides a cause of action for

harassment due to prior military service. However, in order to

 

5 Although Plaintiff points to such a policy in his Response
to Defendant City of Memphis’ Reply to Plaintiff’s Response in
Opposition to Defendants' Motion to Dismiss, filed December 16,
2004, the Court has not considered this document in reaching its
decision on Defendants' motion to dismiss because it is outside
the pleadings. The Court in this order decides only the question
of whether a cause of action exists for harassment or hostile
work environment under the USERRA.

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succeed on such a claim, Plaintiff must establish that the
employer's conduct was “sufficiently pervasive to alter the
conditions of employment and create an abusive working
environment,” ld;, and that Plaintiff is entitled to such a
benefit of employment by virtue of an employer policy. §§e

Monroe, 613 F.2d at 645.
IV. CONCLUSION

For the foregoing reasons, Defendants' Motion to Dismiss
Plaintiff’s harassment and hostile work environment claims is

DENIED.

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SO ORDERED this cb day of May, 2005.

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JON P. MCCALLA
U TED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:04-CV-02427 Was distributed by fax, mail, or direct printing on
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Louis P. Britt

FORD & HARRISON, LLP- Ridge Lake Blvd.

795 Ridge Lake Blvd.
Ste. 300
i\/lemphis7 TN 38120

Darrell J. O'Neal

LAW OFFICE OF DARRELL J. O'NEAL

2129 Winchester
i\/lemphis7 TN 38116

Honorable J on McCalla
US DISTRICT COURT

